
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH 



NO. 2-08-131-CV

JOHNETTA LAMPKIN	APPELLANT



V.



LARRY LAMPKIN, JR.	APPELLEE



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FROM THE 233RD DISTRICT COURT 
OF TARRANT COUNTY

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MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

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On September 29, 2008, we notified appellant that her brief had not been filed as required by Texas Rule of Appellate Procedure 38.6(a). &nbsp;
Tex. R. App. P.
 38.6(a). &nbsp;We stated we could dismiss the appeal for want of prosecution unless appellant or any party desiring to continue this appeal filed with the court within ten days a response showing grounds for continuing the appeal. &nbsp;We have not received any response.

Because appellant’s brief has not been filed, we dismiss the appeal for want of prosecution. &nbsp;
See
 
Tex. R. App. P.
 38.8(a), 42.3(b).

Appellant shall pay all costs of this 
appeal, for which let execution issue.



PER CURIAM 		





PANEL: &nbsp;MCCOY, J.; CAYCE, C.J.; and LIVINGSTON, J.



DELIVERED: &nbsp;October 23, 2008

FOOTNOTES
1:See 
Tex. R. App. P.
 47.4.




